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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

In re:                                                   Chapter 15

NEXII BUILDING SOLUTIONS INC.,                           Case No. 24-10026

                    Debtor in a Foreign Proceeding.

In re:                                                   Chapter 15

NEXII CONSTRUCTION INC.,                                 Case No. 24-10027

                    Debtor in a Foreign Proceeding.

In re:                                                   Chapter 15

NBS IP INC.,                                             Case No. 24-10028

                    Debtor in a Foreign Proceeding.

In re:                                                   Chapter 15

NEXII HOLDINGS INC.,                                     Case No. 24-10025

                    Debtor in a Foreign Proceeding.


        MOTION FOR ORDER (I) DIRECTING JOINT ADMINISTRATION OF
         CASES UNDER CHAPTER 15 OF THE BANKRUPTCY CODE AND
   (II) AUTHORIZING FOREIGN REPRESENTATIVE TO FILE CONSOLIDATED
     LISTS OF INFORMATION REQUIRED BY BANKRUPTCY RULE 1007(A)(4)

         Nexii Building Solutions, Inc., in its capacity as the authorized foreign representative

(the “Foreign Representative”) of the above-captioned debtors (collectively, the “Debtors”),

which are the subject of jointly-administered proceedings (the “CCAA Proceedings”) under

the Companies’ Creditors Arrangement Act, R.S.C. 1985, c. C-36 (as amended, the

“CCAA”) in the Supreme Court of British Columbia (the “Canadian Court”), respectfully

submits this motion (the “Motion”) requesting entry of an order, substantially in the form



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    attached hereto as Exhibit A (the “Order”): (a) directing joint administration of the Debtors’

    related chapter 15 cases (the “Chapter 15 Cases”) pursuant to rule 1015(b) of the Federal Rules of

    Bankruptcy Procedure (the “Bankruptcy Rules”), for procedural purposes only; and (b)

    authorizing the Foreign Representative to file consolidated lists of information required by

    Bankruptcy Rule 1007(a)(4). In support of this Motion, the Foreign Representative respectfully

    states as follows.

                                                   Relief Requested

             1.          The Foreign Representative seeks entry of an order directing joint

    administration of these Chapter 15 Cases for procedural purposes only. Specifically, the Foreign

    Representative requests that the Court maintain one file and one docket for all of the Debtors’

    Chapter 15 Cases under the case number assigned to Debtor Nexii Building Solutions, Inc., and

    that these Chapter 15 Cases be administered under the following caption:

                              IN THE UNITED STATES BANKRUPTCY COURT
                                   FOR THE DISTRICT OF DELAWARE

    In re:                                                              Chapter 15

    NEXII BUILDING SOLUTIONS INC., et al.,                              Case No. 24-10026

                          Debtors in a Foreign Proceeding.1             (Jointly Administered)


1
    The Debtors in these chapter 15 cases (the “Chapter 15 Cases”), along with the last four digits of each Debtor’s
    unique identifier, are Nexii Building Solutions Inc. (0911), Nexii Construction Inc. (1333), NBS IP Inc. (9930), and
    Nexii Holdings Inc. (5873). The Debtors’ service address for purposes of these Chapter 15 Cases is 1455 West
    Georgia Street, #200, Vancouver, British Columbia V6G 2T3.

             2.          The Foreign Representative further requests that the Court order that the

    foregoing caption satisfies the requirements set forth in section 342(c)(1) of the Bankruptcy



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Code.

         3.          The Foreign Representative also seeks the Court’s direction that a notation

substantially similar to the following be entered on the docket in each of these Chapter 15 Cases,

other than on the docket of the case of Nexii Building Solutions Inc., to reflect the joint

administration of these cases:

           An order has been entered in this case directing the procedural consolidation
           and joint administration of the Chapter 15 Cases of: Nexii Building Solutions
           Inc. (24-10026), Nexii Construction Inc. (24-10027), NBS IP Inc. (24-10028),
           and Nexii Holdings Inc. (24-10025). The docket in Case No. 24-10026 should
           be consulted for all matters affecting this case. All further pleadings and
           other papers shall be filed in and all further docket entries shall be made
           in Case No. 24-10026.

         4.          Further, the Foreign Representative requests that the Court authorize the

Debtors to utilize a combined service list for the jointly administered cases and that combined

notices be sent to the Debtors’ creditors and other parties in interest as applicable.

                                       Jurisdiction and Venue

         5.          This Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157

and 1334 and the Amended Standing Order of Reference from the United States District Court

for the District of Delaware, dated February 29, 2012. The Foreign Representative confirms its

consent, pursuant to Bankruptcy Rule 7008, to the entry of a final order by the Court in

connection with the Verified Petition to the extent that it is later determined that the Court,

absent consent of the parties, cannot enter final orders or judgments in connection herewith

consistent with Article III of the United States Constitution. Recognition of a foreign proceeding

and other matters under chapter 15 of the Bankruptcy Code are core matters under 28 U.S.C. §




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  157(b)(2)(P).

            6.         These Chapter 15 Cases have been properly commenced pursuant to section

  1504 of title 11 of the United States Code, 11 U.S.C. §§ 101–1532 (the “Bankruptcy Code”), by

  the filing of petitions for recognition of the Canadian Proceedings under section 1515 of the

  Bankruptcy Code.

            7.         Venue is proper pursuant to 28 U.S.C. § 1410(1) and (3).

            8.         The bases for relief are sections 101(2) and 105(a) of the Bankruptcy Code,

  Bankruptcy Rules 1015(b) and 1007(a)(4), and rule 1015-1 of the Local Rules of Bankruptcy

 Practice and Procedure of the United States Bankruptcy Court for the District of Delaware

 (the “Local Rules”).

                                              Basis for Relief

I.          Joint Administration.

            9.         Bankruptcy Rule 1015(b) provides that if two or more petitions for relief are

  pending in the same court by or against a debtor and its affiliate, the Court may order joint

  administration of the cases. The Debtors are “affiliates” as the Bankruptcy Code defines that

  term in section 101(2).

            10.        Additionally, Local Rule 1015-1 provides that this Court may order joint

  administration without notice or a hearing upon the filing of a motion requesting such joint

  administration and an affidavit or verification establishing that joint administration is warranted

     and will ease the administrative burden for the Court and the parties.

            11.        Joint administration will be an administrative convenience for the Court, the



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clerk’s office, and other interested parties. Entry of an order directing joint administration of

these Chapter 15 Cases will avoid duplicative notices and motions, thereby saving the Debtors,

the Foreign Representative, and all other parties in interest considerable time and expense.

This Motion will not adversely affect the rights of creditors because it requests only

administrative consolidation of these Chapter 15 Cases. Joint administration will not affect any

claims, interests, or other rights that creditors have in or against a particular Debtor, and will

permit creditors to look to one bankruptcy case docket with regard to relief that may be sought or

ordered with respect to the Debtors. Granting this Motion will also relieve the Court of the

burden of entering duplicative orders and maintaining duplicative files.

         12.         Courts in this district and others have approved joint administration relief

similar to that requested herein in other chapter 15 cases.           See, e.g., CDS U.S. Holdings,

Inc., No. 20-11719 (JKS) (Bankr. D. Del. July 2, 2020); In re Mundo Media Ltd., No.

19-11365 (KBO) (Bankr. D. Del. June 19, 2019); In re Agrokor D.D., No. 18-22806 (MG)

(Bankr. S.D.N.Y. July 13, 2018); In re Mood Media Corp., No. 17-11413 (MEW)

(Bankr. S.D.N.Y. May 23, 2017); In re Electo Sonic Inc., No. 14-10240 (MFW) (Bankr. D. Del.

Feb. 11, 2014); In re Mega Brands, Inc., No. 10-10485 (CSS) (Bankr. D. Del. Feb. 23, 2010).

         13.         The Foreign Representative submits that joint administration of these Chapter

15 Cases is in the best interests of the Debtors, their creditors, and all other interested parties, and

that no conflict of interest should arise as a result of joint administration. Requiring separate

administration of these Chapter 15 Cases would subject the Foreign Representative (who would

be forced to file documents on numerous dockets) and creditors (who would be forced to monitor



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  numerous dockets) to unnecessary administrative burdens. For all of the foregoing reasons,

  the Foreign Representative respectfully requests the entry of an order providing for the joint

  administration of these Chapter 15 Cases.

II.        Consolidated Bankruptcy Rule 1007(a)(4) List.

           14.         The Court should also permit the Foreign Representative to file information

  required by Bankruptcy Rule 1007(a)(4) on a consolidated basis across all Debtors. In pertinent

  part, Bankruptcy Rule 1007(a)(4) provides that:

             [A] foreign representative filing a petition for recognition under Chapter 15
             shall file with the petition: . . . (B) unless the court orders otherwise, a list
             containing the names and addresses of all persons or bodies authorized to
             administer foreign proceedings of the debtor, all parties to litigation pending in
             the United States in which the debtor is a party at the time of the filing of the
             petition, and all entities against whom provisional relief is being sought under
             [section] 1519 of the [Bankruptcy] Code.

           15.         The Foreign Representative submits that the filing of a consolidated Bankruptcy

  Rule 1007(a)(4) list will be more efficient and that no interested parties will be prejudiced by the

  filing of consolidated schedules containing the same information as separate schedules.

  Accordingly, the Foreign Representative seeks authority to file a consolidated list that identifies

  the names and addresses of those persons authorized to administer the CCAA Proceedings,

  parties to litigation pending in the United States in which a Debtor is a party, and all entities

  against whom provisional relief is being sought.

           16.         Courts have approved the filing of consolidated Bankruptcy Rule 1007(a)(4)

  lists in other chapter 15 cases. See, e.g., CDS U.S. Holdings, Inc., No. 20-11719 (JKS) (Bankr.

  D. Del. July 2, 2020); In re Mundo Media Ltd., No. 19-11365 (KBO) (Bankr. D. Del. June 19,




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2019); In re Kraus Carpet Inc., No. 18-12057 (KG) (Bankr. D. Del. Sept. 12, 2018); In re

Agrokor D.D., No. 18-22806 (MG) (Bankr. S.D.N.Y. July 13, 2018); In re Edcon Holdings Ltd.

No. 16-13475 (SCC) (Bankr. S.D.N.Y. Dec. 14, 2016); In re Pac. Expl. & Prod. Corp., No. 16-

11189 (JLG) (Bankr. S.D.N.Y. May 2, 2016).

                                                 Notice

         17.         The Foreign Representative requests that the Court grant this Motion without

notice. The Foreign Representative will serve notice of entry of the order in accordance with the

procedures set forth in the Motion for Order Scheduling Recognition Hearing and Specifying

Form and Manner of Service of Notice, filed contemporaneously herewith, consistent with

Bankruptcy Rule 2002(q) and Local Rule 9013-1(m). In light of the nature of the relief

requested, the Foreign Representative requests that this Court find that no further notice is

required.

                                           No Prior Request

         18.         No previous request for the relief requested herein has been made to this or any

other court.

         WHEREFORE, for the reasons set forth herein, the Foreign Representative respectfully

requests entry of the Order, substantially in the form attached hereto as Exhibit A, granting the

relief requested herein and such other and further relief as is just and proper.




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Dated: January 11, 2024                PACHULSKI STANG ZIEHL & JONES LLP


                                       /s/ Steven W. Golden
                                       Steven W. Golden (DE Bar No. 6807)
                                       Colin R. Robinson (DE Bar No. 5524)
                                       Brooke E. Wilson (pro hac vice pending)
                                       919 North Market Street, 17th Floor
                                       Wilmington, Delaware 19899-8705
                                       Tel: 302-652-4100
                                       Fax: 302-652-4400
                                       sgolden@pszjlaw.com
                                       crobinson@pszjlaw.com
                                       bwilson@pszjlaw.com

                                       -and-

                                       BARACK FERRAZZANO KIRSCHBAUM
                                       & NAGELBERG LLP

                                       Nathan Q. Rugg (pro hac vice pending)
                                       Alexander F. Berk (pro hac vice pending)
                                       John Andreasen (pro hac vice pending)
                                       200 West Madison Street, Suite 3900
                                       Chicago, IL 60606
                                       Tel.: (312) 984-3100
                                       Fax: (312) 984-3150
                                       nathan.rugg@bfkn.com
                                       alexander.berk@bfkn.com
                                       john.andreasen@bfkn.com

                                       Attorneys for Foreign Representative




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                                          EXHIBIT A

                                        Proposed Order




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                                  IN THE UNITED STATES BANKRUPTCY COURT
                                       FOR THE DISTRICT OF DELAWARE

In re:                                                               Chapter 15

NEXII BUILDING SOLUTIONS INC.,                                       Case No. 24-10026

                    Debtor in a Foreign Proceeding.

In re:                                                               Chapter 15

NEXII CONSTRUCTION INC.,                                             Case No. 24-10027

                    Debtor in a Foreign Proceeding.

In re:                                                               Chapter 15

NBS IP INC.,                                                         Case No. 24-10028

                    Debtor in a Foreign Proceeding.

In re:                                                               Chapter 15

NEXII HOLDINGS INC.,                                                 Case No. 24-10025

                    Debtor in a Foreign Proceeding.


                    ORDER (I) DIRECTING JOINT ADMINISTRATION OF
              CASES UNDER CHAPTER 15 OF THE BANKRUPTCY CODE AND (II)
            AUTHORIZING FOREIGN REPRESENTATIVE TO FILE CONSOLIDATED
            LISTS OF INFORMATION REQUIRED BY BANKRUPTCY RULE 1007(A)(4)

         Upon the motion (the “Motion”) 1 of the Foreign Representative of the above-captioned

debtors (collectively, the “Debtors”) for entry of an order (this “Order”): (a) directing the joint

administration of these Chapter 15 Cases for procedural purposes only; and (b) authorizing the Foreign

Representative to file consolidated lists of information required by Bankruptcy Rule 1007(a)(4);

the Court having jurisdiction to consider the Motion and the relief requested therein pursuant to 28




1 Capitalized terms used but not defined herein shall have the meanings ascribed to them in the Motion.
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    U.S.C. §§ 157 and 1334, and 11 U.S.C. §§ 105, 109 and 1501 and Local Rule 1015-1; venue being

    proper before the Court pursuant to § 1410(1) and (3); and that this Court may enter a final order

    consistent with Article III of the United States Constitution; adequate and sufficient notice of the filing

    of the Motion having been given by the Foreign Representative; it appearing that the relief requested in

    the Motion is necessary and beneficial to the Debtors; and no objections or other responses having been

    filed that have not been overruled, withdrawn, or otherwise resolved; and after due deliberation and

    sufficient cause appearing therefor, it is hereby ORDERED that:

             1.          The Motion is granted as set forth herein.

             2.          These Chapter 15 Cases shall be, and they hereby are, consolidated pursuant to

    Bankruptcy Rule 1015(b), for procedural purposes only, and shall be jointly administered by the Court

    under Case No. 24-10026.

             3.          The caption of each of these Chapter 15 Cases shall be modified to reflect the joint

    administration of these cases, as follows:

                                      IN THE UNITED STATES BANKRUPTCY COURT
                                           FOR THE DISTRICT OF DELAWARE

    In re:                                                                  Chapter 15

    NEXII BUILDING SOLUTIONS INC., et al.,1                                 Case No. 24-10026

                        Debtors in a Foreign Proceeding.                    (Jointly Administered)


1
     The Debtors in these chapter 15 cases (the “Chapter 15 Cases”), along with the last four digits of each Debtor’s unique
    identifier, are Nexii Building Solutions Inc. (0911), Nexii Construction Inc. (1333), NBS IP Inc. (9930), and Nexii Holdings
    Inc. (5873). The Debtors’ service address for purposes of these Chapter 15 Cases is 1455 West Georgia Street, #200,
    Vancouver, British Columbia V6G 2T3.

             4.          The foregoing caption satisfies the requirements set forth in section 342(c)(1) of the


                                                            2
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Bankruptcy Code.

          5.         A docket entry shall be made in each of the above captioned chapter 15 cases, other

than on the docket of the case of Nexii Building Solutions Inc., to reflect the joint administration of

these cases:

           An order has been entered in this case directing the procedural consolidation and joint
           administration of the Chapter 15 Cases of: Nexii Building Solutions Inc. (24-10026),
           Nexii Construction Inc. (24-10027), NBS IP Inc. (24-10028), and Nexii Holdings Inc.
           (24-10025). The docket in Case No. 24-10026 should be consulted for all matters
           affecting this case. All further pleadings and other papers shall be filed in and all
           further docket entries shall be made in Case No. 24-10026.

          6.         The Foreign Representative shall maintain, and the clerk of the Court shall keep, one

consolidated docket, one file, and one consolidated service list in these Chapter 15 Cases. The Foreign

Representative is authorized to send, as applicable, combined notices to the Debtors’ creditors and other

parties in interest.

          7.         Nothing contained in the Motion or this Order shall be deemed or construed as directing

or otherwise effecting a substantive consolidation of these Chapter 15 Cases.

          8.         Notice of the Motion as provided therein shall be deemed good and sufficient notice of

such Motion and requirements of the Bankruptcy Rules and the Local Rules are satisfied by such

notice.

          9.         The Foreign Representative is authorized to take all actions necessary to effectuate the

relief granted pursuant to this Order in accordance with the Motion.

          10.        The terms and conditions of this Order shall be immediately effective and enforceable

upon its entry, and the clerk of the Court is hereby directed to enter this Order on the docket in each

Chapter 15 Case of the Debtors.


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         11.         The Court retains exclusive jurisdiction with respect to all matters arising from or

related to the implementation, interpretation, and/or enforcement of this Order.




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